            Case 5:24-cv-03972-EKL        Document 159       Filed 05/08/25    Page 1 of 1



 1    Arthur W. Coviello (SBN: 291226)               Katie Marie Saxton
       arthur.coviello@wilmerhale.com                  kate.saxton@wilmerhale.com
 2    WILMER CUTLER PICKERING                        James M. Lyons (pro hac vice)
       HALE AND DORR LLP                               james.lyons@wilmerhale.com
 3
      2600 El Camino Real, Suite 400                 WILMER CUTLER PICKERING HALE
 4    Palo Alto, CA 94306                            AND DORR LLP
      Telephone: (628) 858-6000                      60 State Street
 5    Fax: (628) 858-6100                            Boston, MA 02109
                                                     Telephone: (617) 526-6860
 6    Robert J. Gunther, Jr. (NY SBN: 1967652)       Fax: (617) 526-5000
        robert.gunther@wilmerhale.com
 7
      Christopher R. Noyes (pro hac vice)            Charles T. Cox, Jr.
 8      christopher.noyes@wilmerhale.com               charlie.cox@wilmerhale.com
      Reshma Gogineni                                Robert Stiller
 9      reshma.gogineni@wilmerhale.com                 robert.stiller@wilmerhale.com
      WILMER CUTLER PICKERING                        WILMER CUTLER PICKERING HALE
10     HALE AND DORR LLP                             AND DORR LLP
11    7 World Trade Center                           2100 Pennsylvania Avenue NW
      250 Greenwich Street                           Washington, DC 20037
12    New York, NY 10007                             Telephone: (202) 663-6080
      Telephone: (212) 230-8800                      Fax: (202) 663-6363
13    Fax: (212) 230-8888
14                                      Attorneys for Plaintiffs
15                 Roche Molecular Systems, Inc. and Roche Sequencing Solutions, Inc.

16                               UNITED STATES DISTRICT COURT

17                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN JOSE DIVISION

19                                                 Lead Case No.: 5:24-cv-03972-EKL-SVK
     ROCHE MOLECULAR SYSTEMS, INC.
20   and ROCHE SEQUENCING SOLUTIONS,
     INC.,
21
                                                   EXHIBITS 1-2 AND 4-11 TO
                         Plaintiffs,
22                                                 PLAINTIFFS’ AMENDED COMPLAINT
             v.
23
     FORESIGHT DIAGNOSTICS INC., DAVID
24   KURTZ, an individual, and BOARD OF
     TRUSTEES OF THE LELAND STANFORD
25   JUNIOR UNIVERSITY,
26                       Defendants.
27

28


     CASE NO. 5:24-CV-03972                                         CORRECTED EXHIBITS 1-2 & 4-11
                                                                            TO PLS.’ AM. COMPL.
